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                     IN THE UNITED STATES DISTRICT COUR T

                    FOR THE SOUTHERN DISTRICT OF GEOAJG1 A

                                   DUBLIN DIVISION


UNITED STATES OF AMERICA

               V.                                     CR 306-01 0

RICK TRIMM, SR.



        MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


       The above-captioned criminal case is now before the Court because the parties

consented to proceed with the administration of a guilty plea and allocution pursuant to

Federal Rule of Criminal Procedure 11 before the undersigned, subject to final approval and

sentencing by a United States District Judge . Now, for the reasons set forth below, the Court

REPORTS and RECOMMENDS that the District Judge accept the plea of guilty, enter

final judgment of guilty against the defendant, and, upon review of the pre-sentence

investigation report, impose sentence accordingly .

1.     BACKGROUND

       On July 20, 2006, the above-named defendant, along with counsel, consensually

appeared before the undersigned United States Magistrate Judge, pursuant to Rule 11 of the

Federal Rules of Criminal Procedure, and entered a plea of guilty to Count One of the

indictment in this case. The Court cautioned and examined the defendant under oath

concerning each of the subjects mentioned in Rule 11 and determined that the defendant

understood the admonishments under Rule 11 .
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II. FINDINGS

       The undersigned Magistrate Judge finds the following :

       1 . The defendant, with the advice of his attorney, has consented orally and in
               writing to enter this guilty plea before a Magistrate Judge, subject to final
               approval and sentencing by the presiding District Judge;

       2 . The defendant fully understands the nature of the charges and penalties ;

       3 . The defendant fully understands the terms of the plea agreement ;

       4 . The defendant understands his constitutional and statutory rights and wishes
               to waive these rights, including the right to a trial by jury and the right to
               appear before a United States District Judge for the purpose of entering his
               guilty plea ;

       5 . The defendant's plea is made freely and voluntarily ;

       6. The defendant is competent to enter this plea of guilty;

       7. There is an adequate factual basis for this plea ; and

       8 . The ends of justice will be served by acceptance of the defendant's plea of
               guilty.

III. CONCLUSIO N

       For the reasons set forth above, the Court concludes that the defendant' s plea was

made knowingly, intelligently, and voluntarily, that the offense charged was supported by an

independent basis in fact containing each of the essential elements of such offense, and that

all requirements imposed by the United States Constitution and Rule 11 of the Federal Rules

of Criminal Procedure have been satisfied . Therefore, the Court REPORTS and

RECOMMENDS that the District Judge accept the plea of guilty, enter final judgment o f




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guilty against the defend ant, and, upon review of the pre-sentence investigation report,

impose sentence accordingly.

       SO REPORTED and RECOMMENDED thi&day of July, 2006 , at Augusta,

Georgia.


                                               W. LEON B IELD
                                               UNITED ST TES MAQ STRATE JUDG E




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                         United States District Court
                                 Southern District of Georgia

     UNITED STATES OF AMERIC A

                         VS.                             CASE NO . CR306-01 0
     RICK TRIMM, SR.



The undersigned, a regularly appointed and qualified deputy in the office of this Clerk of this
District, while conducting the business of the Court for said Division does hereby certify the
following :
         1 Pursuant to instructions from the court, and in the performance of my official
                duties, I personally placed in the U .S . Mail a sealed envelope bearing the lawful
                frank of the Court, and properly addressed to each of the persons, parties or
                attorneys listed below ;
                and
          2 . That the aforementioned envelope(s) contain a copy of the documents known as
                   Rpt & Recomm                               dated 7/21/06        , which is
                  part of the official records of this case .

Date of Mailing :      7/21/06
Date of Certificate : 7/21/0 6


                                                       SCOTT L . POFF, CLERK

                                                       By

NAME :
1.   Rick Trimrn, Sr .




     Cert/Copy                                                Cert/Copy
      ❑ ❑ District Judg e                                      ❑ ❑      Dept. of Justic e
      ❑ ® Magistrate Judge                                     ❑ ❑ Dept. of Public Safety
      ❑   ❑ Minutes                                            ❑ ❑ Voter Registrar
      ❑ ❑      U.S . Probation                                 ❑ ❑ U . S . Court of Appeals
      ❑ ❑      U.S . Marshal                                   ❑ ❑ Nicole/Debbi e
      ❑     i U .S . Attorney                                  ❑ ❑      Ray StaIvey
      ❑ ❑      JAG Office                                      0 ❑      Cindy Reynolds
